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UNITED STATES DISTRICT COURT
for the District of New Jersey

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United States of America

orDER SETTING

Vv. CONDITIONS OF RELEASE

JAMES MISSRY
Defendant

Case Number: 25-15092-SDA-4

ITIS ORDERED on this _!5th_dayof__ April , 2025 that the release of the defendant is subject to the following conditions:

(1) The defendant must not violate any federal, state or local law while on release.

(2) The defendant must cooperate in the collection of a DNA sample if the collection is authorized by
42 U.S.C. § 14135a.

(3) The defendant must immediately advise the court, defense counsel, and the U.S. attorney in writing before
any change of address and/or telephone number.

(4) The defendant must appear in court as required and must surrender to serve any sentence imposed.

Release on Bond
Bail be fixed at $ 25 O" OCO and the defendant shall be released upon:

( Executing an unsecured appearance bond (_) with co-signor(s)

( ) Executing a secured appearance bond (_ ) with co-signor(s) ,and(__) depositing
in cash in the registry of the Court % of the bail fixed; and/or (_) execute an agreement to forfeit designated property
located at

. Local Criminal Rule 46.1(d)(3) waived/not waived by the
Court.

( ) Executing an appearance bond with approved sureties, or the deposit of cash in the full amount of the bail in lieu thereof:

Additional Conditions of Release
Pursuant to 18 U.S.C. § 3142(c)(1)(B), the court may impose the following least restrictive condition(s) only as necessary to reasonably

assure the appearance of the person as required and the safety of any other person and the community. It is further ordered that the release
of the defendant is subject to the condition(s) listed below:

IT IS FUR’ R ORDERED that, in addition to the above, the following conditions are imposed:
( Report to Pretrial Services (“PTS”) as directed and advise them immediately of any contact with law enforcement personnel,
including but not limited to, any arrest, questioning or traffic stop.
(

) The defendant shall not attempt to influence, intimidate, or injure any juror or judicial officer; not tamper with any witness,
victim, or informant; not retaliate against any witness, victim or informant in this case.
( ) The defendant shall be released into the third party custody of

who agrees (a) to supervise the defendant in accordance with all the conditions of release, (b) to use every effort to assure

the appearance of the defendant at all scheduled court proceedings, and (c) to notify the court immediately in the event the
defendant violates any conditions of release or disappears.

Custodian Signature: Date:

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( The defendant’s travel is restricted to (_ ) New/dersey sof octiee Continente.| UO S

( unless approved by Pretrial Services (PTS).

( Surrender all passports and travel documents to PTS. Do not apply for new travel documents.

ae Substance abuse testing and/or treatment as directed by PTS. Refrain from obstructing or tampering with substance abuse testing
procedures/equipment.

( ) Refrain from possessing a firearm, destructive device, or other dangerous weapons. All firearms in any home in which the
defendant resides shall be removed by and verification provided to PTS. This includes Purchasers ID & permits.

( Mental health testing/treatment as directed by PTS.

( ) Abstain from the use of alcohol.

( ) Maintain current residence or a residence approved by PTS.

(_ ) Maintain or actively seek employment and/or commence an education program.

( ) (No contact with minors unless in the presence of a parent or guardian who is aware of the present offense.

(WX Have no contact with the following individuals: Co-de t wrhants ot CO-ton spirah cs Wanless 1 He Presence of Coewth{
(_ ) Defendant is to participate in one of the following home confinement program components and abide by all the requirements of
the program which (_) will or (_) will not include electronic monitoring or other location verification system.
( ) (i) Curfew. You are restricted to your residence every day (__) from to _,or( )as directed by
the pretrial services office or supervising officer; or
( ) Gi) Home Detention. You are restricted to your residence at all times except for the following:

education; religious services; medical, substance abuse, or mental health treatment;-attorney-visits; court appearances;
court-ordered obligations; or other activities pre-approved by the pretrial services office or supervising officer.
Additionally, employment (_ ) is permitted ( ) is not permitted.

( ) (ii) Home Incarceration. You are restricted to your residence under 24 hour lock-down except for medical
necessities court appearances, or other activities specifically approved by the court.

(_) (iv) Stand Alone Monitoring. You have no residential curfew, home detention, or home incarceration restrictions.
However, you must comply with the location or travel restrictions as imposed by the court. Note: Stand Alone Monitoring
should be used in conjunction with global positioning system (GPS) technology.

(_) Pay all or part of the cost of location monitoring based upon your ability to pay as determined by the pretrial services or
supervising officer.

( ) Defendant is subject to the following computer/internet and network restrictions which may include manual inspection, and/or

the installation of computer monitoring software, as deemed appropriate by Pretrial Services. Defendant consents to Pretrial
Services use of electronic detection devices to evaluate the defendant's access to wi-fi connections.
installation of computer monitoring software, as deemed appropriate by Pretrial Services. The defendant shall pay all or part of
the cost of the monitoring software based upon their ability to pay, as determined by the pretrial services office or supervising
officer.
( ) G@ No Computers - defendant is prohibited from possession and/or use of computers or connected devices.(__ )
( ) (ii) Computer - No Internet Access: defendant is permitted use of computers or connected devices, but is not
permitted access to the Internet (World Wide Web, FTP Sites, IRC Servers, Instant Messaging, etc);

( ) (iii) Computer With Internet Access: defendant is permitted use of computers or connected devices, and is
permitted access to the Internet (World Wide Web, FTP Sites, IRC Servers, Instant Messaging, etc.) for
legitimate and necessary purposes pre-approved by Pretrial
Services at [ ] home [ ] for employment purposes.

( ) (iv) Consent of Other Residents -by consent of other residents in the home, any computers in the home utilized
by other residents shall be approved by Pretrial Services, password protected by a third party custodian

approved by Pretrial Services, and subject to inspection for compliance by Pretrial Services. Home
computer networks are subject to inspection for compliance by Pretrial Services.
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( ) Other: .

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ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in imprisonment,
a fine, or both.

While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years and
for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be consecutive (i.c.,
in addition to) to any other sentence you receive.
It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation; tamper with
a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt to intimidate a
witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are significantly more serious if
they involve a killing or attempted killing.
If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence, you may be
prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
(1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more — you will be fined
not more than $250,000 or imprisoned for not more than 10 years, or both;
(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years — you will be fined not
more than $250,000 or imprisoned for not more than five years, or both;
(3) any other felony— you will be fined not more than $250,000 or imprisoned not more than two years, or both;
(4) amisdemeanor— you will be fined not more than $100,000 or imprisoned not more than one year, or both.
A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive, In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

Acknowledgment of the Defendant

T acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all conditions
of release, to appear as directed, and surrender to serve any sentence imposed. I am aware Of the ies-arid Sanctions set forth above.

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Directions to the United States Marshal
of. he defendant is ORDERED released after processing.

( ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant has
posted bond and/or complied with all other conditions for release. If still in custody, the defendant must be produced before the

appropriate judge at the time and place specified.
4/15/2025 — H}
Date:
(AH Judicial Officer's Signature
JAMES B, CLARK, II, U.S.M.J.

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